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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION                                                 ENTERED
                                                                                               02/10/2021
IN RE:                                          §
FRANCOIS STANISLAS BELLON,                      §       CASE NO: 20-33214
       Debtor.                                  §
                                                §
                                                §       CHAPTER 7

                                CIVIL CONTEMPT ORDER


       Francois Stanislas Bellon has repeatedly failed to comply with this Court’s Orders. (ECF
No. 13; 24). On this date, Mr. Bellon failed to comply with yet another of the Court’s Orders.
(ECF No. 34). Mr. Bellon is in civil contempt of court based on his failures.
       1. Mr. Bellon is ORDERED to surrender to the United States Marshals Service at 515
          Rusk Street, 10th Floor, Houston, Texas 77002 by no later than February 10, 2021 at
          5:00 PM.

       2. Should Mr. Bellon fail to surrender by 5:00 PM on February 10, 2021, the Marshals
          Service is ORDERED to take Mr. Bellon into custody. See FED. R. BANKR. P. 2005.

       3. While in custody, Mr. Bellon shall have access to his attorney, subject to the reasonable
          and customary restrictions of the Marshals Service.

       4. Mr. Bellon will be released from civil contempt and the custody of the Marshals Service
          upon a separate Order from this Court finding that Mr. Bellon has complied with this
          Order. See FED. R. BANKR. P. 2005. Compliance with this Order requires:

                  a. Mr. Bellon to deliver to his attorney, Walter Cicack, Mr. Bellon’s mobile
                     phone, its password, and any passwords necessary to access the information
                     set out in paragraph 4.b. of this Order contained on the mobile phone;

                          i. If Mr. Cicack is unable or unwilling to extract the information
                             identified in paragraph 4.b. from Mr. Bellon’s mobile phone, Mr.
                             Cicack shall deliver to Matthew Probus, Counsel to the Trustee, Mr.
                             Bellon’s mobile phone, its password, and any passwords necessary
                             to access the information set out in paragraph 4.b. of this Order
                             contained on the mobile phone;

                  b. Mr. Cicack to turn over to the Trustee all text messages and emails between
                     Mr. Bellon, Vladimir Bellon, and Mr. Bellon’s girlfriend; and

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                  c. Mr. Bellon to complete, in good faith, and file with the Court all documents
                     identified in ECF No. 13, and to provide the Trustee with complete copies
                     of all the documents set out in ECF No. 13. A copy of ECF No. 13 is
                     attached to this Order.

           5. Upon satisfaction of this Order’s conditions for release, Mr. Bellon may file an
              emergency motion seeking his immediate release from custody.



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         October 17,  2021                         
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                                                                  11/09/2020
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  November
         October 17,09, 2020
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